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 6 Attorneys for Plaintiff
   United States of America
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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                            CASE NO. 2:14-CR-0303 MCE
12                                 Plaintiff,             STIPULATION REGARDING EXCLUDABLE
                                                          TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                          v.                            FINDINGS AND ORDER
14   SESAR PRADO, AND                                     DATE: March 12, 2015
     RAMON GARCIA PRADO,                                  TIME: 9:30 a.m.
15                                                        COURT: Hon. Morrison C. England, Jr.
                                  Defendants.
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17
                                                  STIPULATION
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            1.      By previous order, this matter was set for status on March 12, 2015.
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            2.      By this stipulation, defendants now move to continue the status conference until April 2,
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     2015, and to exclude time between March 12, 2015, and April 2, 2015, under Local Code T4.
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            3.      The parties agree and stipulate, and request that the Court find the following:
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                    a)     The government has represented that the discovery associated with this case
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            includes investigative reports, search warrant affidavits, judgment and commitment records, CDs
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            and DVDs, and RAP sheets of the defendants. All of this discovery has been either produced
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            directly to counsel and/or made available for inspection and copying.
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                    b)     Counsel for defendants desire additional time review the materials, conduct
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            further investigation, consult with their clients, engage in pre-trial negotiations with the
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            government, and to otherwise prepare for trial.
      STIPULATION RE: SPEEDY TRIAL ACT; FINDINGS AND      1
      ORDER
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 1                   c)      Counsel for defendants believe that failure to grant the above-requested

 2           continuance would deny counsel the reasonable time necessary for effective preparation, taking

 3           into account the exercise of due diligence.

 4                   d)      The government does not object to the continuance.

 5                   e)      Based on the above-stated findings, the ends of justice served by continuing the

 6           case as requested outweigh the interest of the public and the defendant in a trial within the

 7           original date prescribed by the Speedy Trial Act.

 8                   f)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

 9           et seq., within which trial must commence, the time period of March 12, 2015 to April 2, 2015,

10           inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4]

11           because it results from a continuance granted by the Court at defendants’ request on the basis of

12           the Court’s finding that the ends of justice served by taking such action outweigh the best interest

13           of the public and the defendant in a speedy trial.

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        STIPULATION RE: SPEEDY TRIAL ACT; FINDINGS AND     2
        ORDER
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 1          4.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

 2 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial
 3 must commence.
 4          IT IS SO STIPULATED.

 5
     Dated: February 11, 2015                                 BENJAMIN B. WAGNER
 6                                                            United States Attorney
 7
                                                              /s/ OLUSERE OLOWOYEYE
 8                                                            OLUSERE OLOWOYEYE
                                                              Assistant United States Attorney
 9
10
11 Dated: February 11, 2015                                   /s/ DINA SANTOS
                                                              DINA SANTOS
12
                                                              Counsel for Defendant
13                                                            SESAR PRADO

14
     Dated: February 11, 2015                                 /s/ KELLY BABINEAU
15                                                            KELLY BABINEAU
                                                              Counsel for Defendant
16                                                            RAMON PRADO
17
                                                       ORDER
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            IT IS SO ORDERED.
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     Dated: February 12, 2015
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      STIPULATION RE: SPEEDY TRIAL ACT; FINDINGS AND      3
      ORDER
